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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                               Case No. 6:18-cv-1684-Orl-41TBS

KEESHA RICHARDSON, FIDELA
DENNY, and MARIA HUMPHREYS,

      Plaintiffs,

vs.

OFFICE OF SEMINOLE COUNTY
TAX COLLECTOR,

      Defendant.
                                               /

NON-PARTY RAY VALDES’ NOTICE OF FILING AFFIDAVIT OF CAMERON FRYE
  IN SUPPORT OF OBJECTION TO MAGISTRATE JUDGE’S ORDER DENYING
                  MOTION FOR PROTECTIVE ORDER

       Non-party, RAY VALDES (“Mr. Valdes”), by counsel, hereby gives notice of its filing of

the attached Affidavit of Cameron Frye, Esq., in Support of Mr. Valdes’ Objection to the

Magistrate’s Order Denying his Motion for Protective Order in regard to the Subpoena to Testify

at a Deposition in a Civil Action.

       Dated: June 8, 2020.


                                                   Respectfully submitted,

                                                   /s/ Cameron S. Frye
                                                   BART R. VALDES
                                                   Florida Bar Number 323380
                                                   CAMERON S. FRYE
                                                   Florida Bar Number 105142
                                                   de Beaubien, Simmons, Knight,
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